Case 1:09-cv-00597-LMB-TCB Document 71 Filed 12/07/09 Page 1 of 6 PageID# 1116




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division



 Intersections Inc. and Net Enforcers, Inc.,

                         Plaintiffs,                   Civil Action No. 1:09CV597 (LMB/TCB)
                    v.

 Joseph C. Loomis and Jenni M. Loomis,

                         Defendants.


                          MEMORANDUM OF LAW IN SUPPORT OF
                   INTERSECTIONS INC.’S SECOND MOTION FOR SANCTIONS

         Plaintiff Intersections Inc. (“Intersections”) submits this memorandum in support of its

 Motion for Sanctions filed contemporaneously herewith. Intersections seeks (1) the dismissal of

 the Counterclaims filed by Defendant Joseph C. Loomis (“Loomis”) against Intersections and

 Net Enforcers, Inc. (“NEI”) (collectively, “Plaintiffs”), (2) an adverse inference at trial that the

 documents Loomis has failed to properly produce would have proved the claims filed against

 him by Plaintiffs in the Complaint, (3) the striking of Loomis’ affirmative defenses, (4) any other

 sanctions the Court deems appropriate, and (5) an award of its attorneys’ fees and costs incurred

 in bringing this Motion.

                                         BACKGROUND

         On November 6, 2009, Loomis produced seven DVDs containing what was represented

 to be his complete document production, corrected in accordance with the Court’s October 30,

 2009 Order (the “Order”). Upon loading the DVDs into its document review software and

 beginning its review of those documents, Plaintiffs discovered that Loomis’ document

 production was missing a total of 60,654 TIFF images. Plaintiffs filed a Motion for Sanctions on



 EAST\42631360.1
Case 1:09-cv-00597-LMB-TCB Document 71 Filed 12/07/09 Page 2 of 6 PageID# 1117



 November 24, 2009. On December 2, 2009, Loomis provided to Plaintiffs the 60,654 missing

 TIFF images. The Court heard argument on the Motion for Sanctions on Friday, December 4,

 2009. During that hearing, Plaintiffs represented to the Court that it was their belief that Loomis

 had produced all of his documents in accordance with the Court’s Order.

         At the time of the hearing, Plaintiffs had determined that Loomis had produced the

 missing TIFF images. Today, during the course of Plaintiffs’ review of Loomis’ electronic

 documents, however, Plaintiffs’ IT specialist discovered that Loomis’ production is missing

 another almost 10,000 additional pages of documents. Loomis has failed to provide Plaintiffs

 any metadata, native files, or images associated with the Bates number range JL0273745 through

 JL0283381.

                                               ARGUMENT

         Rule 37 of the Federal Rules of Civil Procedure and Local Civil Rule 37 set forth the

 manner in which a party may seek sanctions against an opposing party for certain failures of

 discovery. Federal Rule of Civil Procedure 37(b)(2) provides, in pertinent part:

                   (A) For Not Obeying a Discovery Order. If a party or a party’s
                   officer, director, or managing agent — or a witness designated
                   under Rule 30(b)(6) or 31(a)(4) — fails to obey an order to provide
                   or permit discovery, including an order under Rule 26(f), 35, or
                   37(a), the court where the action is pending may issue further just
                   orders. They may include the following:

                   (i) directing that the matters embraced in the order or other
                   designated facts be taken as established for purposes of the action,
                   as the prevailing party claims;

                   (ii) prohibiting the disobedient party from supporting or opposing
                   designated claims or defenses, or from introducing designated
                   matters in evidence;

                   (iii) striking pleadings in whole or in part;

                   (iv) staying further proceedings until the order is obeyed;


                                                      2
 EAST\42631360.1
Case 1:09-cv-00597-LMB-TCB Document 71 Filed 12/07/09 Page 3 of 6 PageID# 1118




                   (v) dismissing the action or proceeding in whole or in part;

                   (vi) rendering a default judgment against the disobedient party; or

                   (vii) treating as contempt of court the failure to obey any order
                   except an order to submit to a physical or mental examination.

                                             .       .      .

                    (C) Payment of Expenses. Instead of or in addition to the orders
                   above, the court must order the disobedient party, the attorney
                   advising that party, or both to pay the reasonable expenses,
                   including attorney’s fees, caused by the failure, unless the failure
                   was substantially justified or other circumstances make an award
                   of expenses unjust.

 Rule 37 clearly provides that the rendering of a default judgment against the disobedient party or

 parties is an appropriate remedy for a discovery violation.

         In the present case, the Court’s Order was clear: Loomis was required to deliver all

 documents to Intersections’ counsel by 5:00 p.m. on Friday, November 6, 2009 in the format

 agreed to in the Discovery Order. In addition to the missing TIFF images referred to in Plaintiffs

 first Motion for Sanctions, Loomis has failed to provide Plaintiffs any metadata, native files, or

 images associated with the Bates number range JL0273745 through JL0283381. Accordingly,

 Loomis has failed to fully comply with the Order.

         Discovery closes on Friday; and the pretrial conference is scheduled for Thursday,

 December 17, 2009.         Plaintiffs have been deprived of the use of these documents during

 discovery and will have no meaningful use of Loomis’ documents before the deadline for

 designating exhibits.

         The Order provides: “Any violations of this order or any future misconduct will result in

 substantive sanctions as to defendants, as well as monetary sanctions against defendants and their

 counsel, including local counsel, jointly and severally, and revocation of pro hoc vice status of
 Arizona counsel.”




                                                    3
 EAST\42631360.1
Case 1:09-cv-00597-LMB-TCB Document 71 Filed 12/07/09 Page 4 of 6 PageID# 1119




         Intersections respectfully requests that the Court:

         (1)       Dismiss with prejudice the Counterclaims filed by Loomis against Plaintiffs;

         (2)       Draw an adverse inference that the documents Loomis failed to properly produce

 during the course of discovery in this litigation would have proved the claims filed against him

 by Plaintiffs in the Complaint;

         (3)       Strike the affirmative defenses asserted by Loomis;

         (4)       Award any other sanctions the Court deems appropriate; and

         (5)       Award Intersections its attorneys’ fees and costs incurred in bringing this Motion.

 Plaintiffs do not request an extension of the discovery period.




                                                    4
 EAST\42631360.1
Case 1:09-cv-00597-LMB-TCB Document 71 Filed 12/07/09 Page 5 of 6 PageID# 1120



                                           CONCLUSION

         For the reasons set forth above, Intersections respectfully requests that the Court grant its

 Second Motion for Sanctions against Defendant Joseph C. Loomis as outlined above and award

 its attorneys’ fees and costs in brining this Motion.

 Dated: December 7, 2009                         Respectfully submitted,


                                                 By:       /s/
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                                                   5
 EAST\42631360.1
Case 1:09-cv-00597-LMB-TCB Document 71 Filed 12/07/09 Page 6 of 6 PageID# 1121



                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 7th day of December, 2009, I caused the foregoing

 Memorandum of Law in Support of Intersections Inc.’s Second Motion for Sanctions to be

 electronically filed with the Clerk of the Court using the CM/ECF system, which will then send a

 notification of such filing (NEF) to the following:

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                                                  6
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